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                   IN IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             GAINESVILLE DIVISION

JANESLY LAFORTUNE,
                                              Case No. 2:24-cv-00159-SCJ
     Plaintiff,
v.

LANIER HOME RESTORATION
GROUP, CORP. and LESLIE
CORELY,

     Defendants.


                  PLAINTIFF’S MOTION FOR LEAVE OF COURT
                    TO FILE SECOND AMENDED COMPLAINT

      Pursuant to Federal Rule of Civil Procedure 15(a)(2), Plaintiff Jansely

LaFortune files this Motion for Leave of Court to File Second Amended Complaint.

In support of his motion, Plaintiff shows the Court as follows:

      I.      Factual Background

      Plaintiff filed his first Complaint on July 11, 2024, asserting claims under the

Fair Labor Standards Act 29 U.S.C. § 201 et. seq., (“FLSA”) and claims under

Georgia state law. (Doc. 1.) Defendants filed a motion seeking to dismiss Plaintiff’s

Complaint and Plaintiff amended his Complaint. (Docs. 10 and 17). In response to

Plaintiff’s Amended Complaint, Defendant filed another motion to dismiss, as well

as an Answer, on May 21, 2025. (Docs. 18 and 19). On June 11, 2025, Defendants

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filed an Amended Answer and asserted counterclaims against Plaintiff for breach of

fiduciary duty of loyalty, unjust enrichment, and conversion. (Doc. 21.)

      Plaintiff now seeks leave from the Court to file his Second Amended

Complaint, attached hereto as Exhibit A, only to add a newly arising claim of

retaliation in violation of the FLSA.

      II.    Legal Standard

      Under Rule 15(a), leave to amend shall be “freely give[n] when justice so

requires.” This policy is supported by the Supreme Court’s statement in Foman v.

Davis that “[i]f the underlying facts or circumstances relied upon by a plaintiff may

be a proper subject of relief, [s]he ought to be afforded an opportunity to test [his]

claim on the merits.” 371 U.S. 178, 182, (1962). Even though the decision whether

to grant or deny leave to amend is within the discretion of the District Court, leave

should only be denied for reasons such as undue delay, bad faith, dilatory motive,

repeated failure to cure deficiencies in previous amendments, undue prejudice to the

opposing party, or futility. Id. “Prejudice and undue delay are inherent in an

amendment asserted after the close of discovery and after dispositive motions have

been filed, briefed, and decided.” Campbell v. Emory Clinic, 166 F.3d 1157, 1162

(11th Cir. 1999).

      III.   Argument


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      Plaintiff’s motion satisfies the liberal amendment standard of Rule 15.

Plaintiff’s Second Amended Complaint is not filed with undue delay or with dilatory

motive, as he files this Motion within 21 days of Defendant Lanier Home asserting

counterclaims against him and after first requesting Defendants’ consent to file the

Second Amended Complaint. Doc. 21. Further, no scheduling order has been entered

in this matter. Moreover, Plaintiff does not seek to amend his Complaint in bad faith

or to correct a previous failure to amend, because his claims for retaliation did not

arise until Defendant Lanier Home asserted counterclaims against him in their

Amended Answer and Counterclaims which was not filed until June 11, 2025. Doc.

21.

      Furthermore, permitting Plaintiff to file his Second Amended Complaint does

not result in undue prejudice against any Defendant and is not futile, as he only seeks

leave to amend to add a new claim of retaliation under the FLSA, which did not arise

until after Defendants filed their Amended Answer and Counterclaims. Doc. 21;

Exhibit A. Because Plaintiff’s claim for retaliation is based upon Defendant Lanier

Home asserting counterclaims against him and because those counterclaims were

not filed until after Plaintiff filed his first Amended Complaint, Plaintiff could not

have brought those claims prior to the amendment he now seeks.




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      IV.    Conclusion

      In accordance with the above, Plaintiff’s motion to amend his Second

Amended Complaint should be granted. Plaintiff respectfully requests that his

Amended Complaint, a copy of which is attached as Exhibit A, be deemed served

upon the existing parties upon the granting of Plaintiff’s motion.

      Respectfully submitted: July 2, 2025.

                                              /s/ William S. Cleveland
                                              William S. Cleveland
                                              Georgia Bar No. 721593
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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, counsel hereby certifies that Plaintiff’s Motion

for Leave of Court to File Second Amended Complaint has been prepared using

Times New Roman 14-point font, as approved by Local Rule 5.1C.

                          CERTIFICATE OF SERVICE

      I further certify that on this day, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will automatically send notice of

such filing to all attorneys of record.

      Respectfully submitted this 2nd day of July 2025.

                                              /s/ William S. Cleveland
                                              William S. Cleveland
                                              Georgia Bar No. 721593
                                              william@guilmettehenderson.com




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